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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

    MARK HALE, TODD SHADLE, LAURIE                   )
    LOGER, and MARK COVINGTON, on behalf )
    of themselves and all others similarly situated, )
                                                     )
                                   Plaintiffs,       )
                                                             Case No. 12-cv-00660 DRH-SCW
                                                     )
           v.                                        )
                                                             Judge David R. Herndon
                                                     )
    STATE FARM MUTUAL AUTOMOBILE                     )
                                                             Magistrate Stephen C. Williams
    INSURANCE COMPANY, EDWARD                        )
    MURNANE, and WILLIAM G. SHEPHERD, )
                                                     )
                                   Defendants.       )

            DEFENDANT EDWARD MURNANE’S MOTION TO RECONSIDER
          THE COURT’S ORDER DENYING MURNANE’S MOTION IN LIMINE
         TO EXCLUDE EVIDENCE REGARDING HIS LEGAL REPRESENTATION

          Defendant Edward Murnane respectfully submits this Motion to Reconsider that portion

   of its Memorandum and Order dated August 21, 2018 (ECF No. 905) that denied Mr. Murnane’s

   Motion In Limine to Exclude Evidence Regarding His Legal Representation (ECF No. 795) (the

   “Motion”). Alternatively, Mr. Murnane asks leave to add Richard J. O’Brien to the Defendants’

   list of possible trial witnesses. If necessary, Mr. O’Brien’s testimony would be offered in

   rebuttal to any effort by Plaintiffs to suggest that Sidley’s representation of Mr. Murnane was

   initiated, directed, or controlled by State Farm; to explain why Sidley agreed to represent Mr.

   Murnane on a pro bono basis; and to confirm that neither State Farm nor any other person or

   entity has paid for Mr. Murnane’s defense.

                                          INTRODUCTION

          Briefly recapping the Motion, Mr. Murnane asked that evidence and argument be

   excluded on (a) the circumstances under which Mr. Murnane engaged his counsel, Sidley Austin

   LLP; (b) the terms under which Sidley represents Mr. Murnane, including the pro bono nature of



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   the representation; and (c) whether Mr. Murnane or any other party or non-party is paying or has

   paid Sidley to represent him. (ECF No. 795 at 1) The Court denied the motion, stating in part:

          Plaintiffs [contend] that this is relevant evidence regarding the issue of bias
          arguing that if another party is paying for [Murnane’s] legal representation then
          his testimony might be inclined to favor that party. The Court finds that this
          information is relevant to the issue of bias and can be explored in the light of the
          equivocation in Murnane’s testimony in his deposition.

   (ECF No. 905 at 47) The Court also found the “probative value outweighs the potential

   prejudice.” (Id.)

                                             ARGUMENT

          The Court described its rulings on in limine motions as “speculative in effect; essentially,

   they are advisory opinions.” (Id. at 2) A motion to reconsider “is a request that the court

   reexamine its decision in light of additional legal arguments, a change of law, or perhaps an

   argument or aspect of the case which was overlooked.” Lightspeed Media Corp. v. Smith, 3:12-

   CV-889-DRH-SCW, 2015 WL 3545253 at *4 (S.D. Ill. June 5, 2015) (citing Ahmen v. Ashcroft,

   388 F.3d 247, 249 (7th Cir. 2004), aff’d in relevant part, 830 F.3d 500 (7th Cir. 2016). Thus, “a

   court ‘may reconsider a prior decision ... when the court misunderstands a party’s arguments, or

   when the court overreaches by deciding an issue not properly before it.’” Id. (quoting U.S. v.

   Ligas, 549 F.3d 497, 501 (7th Circ. 2008).

          Mr. Murnane submits that certain language of the Court’s ruling on the subject motion in

   limine suggests that it may have overlooked an important fact: State Farm is not paying for Mr.

   Murnane’s representation in this case. Put another way, there will be no testimony from any

   witness that State Farm, or any other person or entity, is paying for Mr. Murnane’s

   representation. Thus, it would be improper for Plaintiffs’ counsel to use cross-examination to




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   invite jurors to draw that exact inference (that State Farm is paying for Mr. Murnane’s expense)

   – an inference that is simply not based on fact. 1

            Plaintiffs have argued that testimony about Sidley’s representation of Mr. Murnane is

   “highly relevant to the issue of bias.” (ECF No. 876 at 1) The Court agreed, in part because it

   found “equivocation” in Mr. Murnane’s deposition testimony. Mr. Murnane was asked: “Is State

   Farm paying the expenses?” He answered, “Not to my knowledge.” (ECF No. 795-3 at 38)

   That deposition was taken October 27, 2015. More than a year later, the Plaintiffs propounded a

   Second Set of Interrogatories to Mr. Murnane in which they asked him specifically to “[i]ndicate

   all parties that have agreed to pay or paid for your legal representation” at any time from the start

   of the case to the present. On February 6, 2017, Mr. Murnane answered the interrogatory

   unequivocally by stating: “None.” (ECF No. 795-4 at No. 3) If anything had happened since

   February 6, 2017 to change the answer, Mr. Murnane would have supplemented his declaration

   in response to the interrogatory. As an officer of this Court, the undersigned counsel can confirm

   that no one has paid or agreed to pay Sidley for Mr. Murnane’s legal representation since

   February 6, 2017, either.

            Presumably, Plaintiffs persist in trying to suggest that the jury infer that State Farm must

   be paying for Mr. Murnane’s representation because they recognize the potential for extreme

   prejudice. A fundamental premise of this RICO case is that State Farm and Mr. Murnane,

   among others, engaged in concerted, unlawful conduct. Plaintiffs would like nothing more than

   for the jury to speculate that they remain in concert. The very nature of a trial proceeding


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     Rule 3.1 of the Illinois Rules of Professional Conduct states: “A lawyer shall not ... assert or controvert an issue ...
   unless there is a basis in law and fact for doing so that is not frivolous(.)” Likewise, Rule 3.4 states that a lawyer
   shall not, “in trial, allude to any matter that the lawyer does not reasonably believe ... will be supported by
   admissible evidence(.)” Because Plaintiffs have no evidence that State Farm is paying for Mr. Murnane’s
   representation (and actually has evidence to the contrary), it would be improper to invite the jury to draw that
   inference.



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   wherein Mr. Murnane and State Farm will be defending the same exact claims and will be

   physically situated on the same side of the court room, among other things, unavoidably suggests

   that Mr. Murnane and State Farm are “on the same team.” To allow Plaintiffs’ counsel to go

   further and sponsor a false narrative that State Farm is paying or has agreed to pay for Mr.

   Murnane’s counsel unfairly exacerbates the situation.

           Even more, the fundamental unfairness to Mr. Murnane would be magnified insofar as

   the Court granted in part – by agreement of the parties – that portion of Plaintiffs’ motion in

   limine barring any testimony about how, when, or under what circumstances Plaintiffs chose or

   employed any of their attorneys. (ECF No. 905 at 13) Mr. Murnane’s counsel does not take

   issue with that ruling; the likelihood that Plaintiffs’ counsel are financing this litigation is not

   probative of any claim or defense. By extension of the argument Plaintiffs make here, it could

   be said in any case that evidence that a plaintiff class’s lawyers are funding litigation could be

   evidence of bias: that is, a plaintiffs’ class representative is more likely to testify in a manner

   consistent with the interests of the lawyers representing the class if they are funding the

   litigation. But that said, courts should not and typically do not allow that evidence over

   objections based on Federal Rules 402 and 403. Here, likewise, Mr. Murnane should not be

   singled out by being subjected to questions about the nature or terms of his representation. Such

   evidence is not relevant and has the potential to be unfairly prejudicial.

           In its ruling, the Court also observed: “From an equitable position, it is possible that if a

   jury is inclined to find damages were coming to plaintiffs they may decide to let Murnane off the

   hook because he could not afford his own legal representation.” (ECF No. 905 at 47) This

   observation seems to support granting the motion, rather than denying it. If the motion is




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   granted, obviously Mr. Murnane could not testify as to the pro bono nature of the representation

   without opening the door to exactly the type of evidence he seeks to exclude.

          Finally, if the Court denies this motion for reconsideration and sustains its decision to

   deny Mr. Murnane’s motion, Mr. Murnane asks leave to add Richard J. O’Brien to the witness

   list for the purpose of providing rebuttal testimony. Mr. O’Brien is the now-retired Sidley

   partner who took on Mr. Murnane’s representation at the outset of this matter. (ECF No. 58)

                                            CONCLUSION

          For all the foregoing reasons, defendant Edward Murnane respectfully requests that the

   Court reconsider and reverse its August 21, 2018 ruling denying his motion in limine to exclude

   evidence or argument related to (a) the circumstances under which Mr. Murnane engaged his

   counsel; (b) the terms under which Sidley represents Mr. Murnane, including the pro bono nature

   of the representation; and (c) whether Mr. Murnane or any other party or non-party is paying or

   has paid Sidley to represent him. (ECF No. 795 at 1)

   Dated: August 27, 2018                               Respectfully submitted,



                                                        Edward Murnane


                                                    By: /s/ Paul E. Veith
                                                        One of His Attorneys
                                                        Paul E. Veith
                                                        pveith@sidley.com
                                                        Andrew J. Chinsky
                                                        achinsky@sidley.com
                                                        SIDLEY AUSTIN LLP
                                                        One South Dearborn St.
                                                        Chicago, IL 60603
                                                        Phone: (312) 853-7000
                                                        Fax: (312) 853-7036

                                                        Attorneys for Edward Murnane



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                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was served on all counsel of record via the

   Court’s CM/ECF system on August 27, 2018.

                                                   /s/ Andrew J. Chinsky
                                                       Andrew J. Chinsky

                                                       Attorney for Defendant Edward Murnane




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